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                    UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK


ADVENTIST HEALTH SYSTEM SUNBELT
HEALTHCARE CORP.,

           Plaintiff,                  Civil Action No. 1:23-CV-07031-ER-KP

     v.

MULTIPLAN, INC.,

           Defendant.



 BRIEF OF THE AMERICAN HOSPITAL ASSOCIATION AS AMICUS CURIAE IN
   RESPONSE TO DEFENDANT MULTIPLAN, INC.’S MOTION TO DISMISS
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                              INTEREST OF AMICUS CURIAE

       The American Hospital Association (AHA) represents nearly 5,000 hospitals, health care

systems, and other health care organizations. Its members are committed to improving the health

of the communities that they serve, and to helping ensure that care is available to and affordable

for all Americans. The AHA educates its members on health care issues and advocates on their

behalf, so that the perspectives of hospitals and health systems, along with the patients they

serve, are considered in formulating health policy. One way in which the AHA promotes its

members’ interests is by participating as amicus curiae in cases with important and far-ranging

consequences.

       The AHA’s member hospitals have a significant interest in this case. Commercial

insurance reimbursements comprise the majority of most hospitals’ revenue. Moreover, because

government programs like Medicare do not cover the costs of providing care, commercial

reimbursements can be the difference between losing money, breaking even, or earning a

sustainable margin. 1 The AHA’s member hospitals thus depend on competition among

commercial payors to ensure that commercial reimbursement rates are sufficient to cover

hospitals’ costs and preserve patient access to care throughout the United States.

                                       INTRODUCTION

       This lawsuit comes at a crucial time for the health care sector. Since the onset of

COVID-19, the prices for key inputs—including labor, prescription drugs, and medical

equipment—have grown dramatically. America’s hospitals and health systems have borne the

lion’s share of these increased costs. Government reimbursements were inadequate before the


       1
         See Am. Hosp. Ass’n, The Financial Stability of America’s Hospitals and Health
Systems Is at Risk as the Costs of Caring Continue to Rise at 1 (Apr. 2023) (hereinafter “2023
Cost of Caring Report”), available at https://www.aha.org/costsofcaring.


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pandemic, and have since fallen even further behind. In December, for example, the Medicare

Payment Advisory Commission noted in a preliminary presentation to Commissioners that

hospital Medicare margins had sunk to an all-time low of negative 12 percent. 2 Reimbursements

from commercial payors have likewise failed to keep pace with hospitals’ increased costs. The

result is dire: nearly half of all U.S. hospitals have negative operating margins, bond defaults are

up, and hundreds of rural hospitals are on the brink of collapse.

       The situation is much different for the commercial insurance companies that use

MultiPlan’s repricing tool. Commercial payors like United Healthcare are some of the largest

and most profitable companies in the world. They generate hundreds of billions of dollars in

revenue each year; they earn healthy margins; and their sizeable profits generate equally sizable

shareholder returns. In 2020, while hospitals were devastated by the COVID-19 outbreak,

insurers banked record profits. Several years later, this economic divergence between providers

and payors is the new normal. Hospitals and health systems continue to struggle financially,

while insurer share prices continue to grow.

       Against this backdrop, it is imperative that courts hold commercial insurers to the same

standards as everyone else. The AHA respectfully submits this amicus brief to offer a broader

perspective on what is really at stake here. This is not merely a dispute between MultiPlan and a

health system it describes as “one of the largest hospital systems in the United States.”

MultiPlan Br., Dkt. No. 65, at 1. And the “financial plight of rural hospitals” that MultiPlan

dismisses as mere “speculation,” id. at 33 n.7, is anything but. If, as Adventist alleges, MultiPlan



       2
         Alison Binkowski et al., Medicare Payment Advisory Committee, Assessing payment
adequacy and updating payments: Hospital inpatient and outpatient services at 14 (Dec. 7,
2023), available at https://www.medpac.gov/wp-content/uploads/2023/03/Hospital-Dec-2023-
SEC.pdf.


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has facilitated collusion among commercial insurers throughout the country, this Court’s

intervention will help preserve the viability of many struggling hospitals that cannot survive

without competitive reimbursements.

                                          ARGUMENT

I.     America’s hospitals and health systems face an unprecedented economic crisis.

       America’s hospitals and health systems are in trouble. After suffering record losses in

2020, many hospitals have struggled to break even due to the combination of (i) continually

rising costs, and (ii) insufficient reimbursements from government payors. Now, more than ever,

hospitals need competition between commercial payors to generate enough revenue to cover

their costs and remain viable for the long term.

       Though many hospitals struggled before COVID-19, the pandemic triggered a

nationwide financial crisis for hospitals and health systems. During the early stages of the

pandemic, America’s hospitals provided lifesaving care to millions as most of the country

remained in lockdown. Yet at the same time, hospitals incurred devastating financial losses. 3

       Even though the worst of COVID-19 is now behind us, hospitals still feel the economic

effects of this one-in-a-century pandemic. Expenses have continued to rise across the board,

with substantial increases in the cost of labor, medication, medical supplies and equipment, and

purchased services. These cost increases have dwarfed the relatively modest increases in

hospital prices and government reimbursements during this same time period.

       With respect to labor costs, the COVID-19 pandemic led to critical workforce shortages



       3
         Robert King, Fierce Healthcare, Hospitals close out 2020 with declining margins and
higher expenses due to COVID-19 (Jan. 26, 2021), available at
https://www.fiercehealthcare.com/hospitals/kaufman-hall-hospitals-close-out-2020-declining-
margins-and-higher-expenses-due-to-covid.


                                                   3
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in 2020 and 2021, requiring hospitals to incur greater costs to hire and retain workers. 4 Yet in

2022, things somehow got worse—just as emergency funding from Congress began to dry up.

Due to a combination of sustained COVID-19 surges, an outbreak of respiratory syncytial virus

(RSV), and deferred care from the early days of the pandemic, demand for hospital care grew

dramatically. To meet this demand, hospitals were forced to work with health care staffing

agencies to fill necessary gaps, including for bedside nursing. 5 Staffing agencies capitalized on

the situation and increased their rates to record levels. 6 As a result, hospitals’ total labor expense

in 2022 was 21% higher than in 2019, driven in large part by a staggering 258% increase in

contract labor expense. 7

       Drug expenses also increased dramatically. As hospitals and health systems struggled to

overcome pandemic surges and workforce shortages, the prices they paid for numerous

medications went up. 8 According to HHS, the prices of 1,216 drugs—including some used to

treat chronic conditions like cancer and rheumatoid arthritis—increased by an average of 31.6%,

roughly four times the rate of inflation. 9 Overall, average drug expenses per patient increased

nearly 20% between 2019 and 2022. 10

       As labor and drug costs rose, hospitals and health systems also were forced to pay

materially higher prices for medical supplies and equipment. Supply chain disruptions led to

       4
           See 2023 Cost of Caring Report.
       5
           Id. at 2.
       6
           Id. at 2-3.
       7
         Syntellis & Am. Hosp. Ass’n, Hospital Vitals: Financial and Operational Trends at 2
(Feb. 2023), available at https://www.syntellis.com/sites/default/files/2023-
03/AHA%20Q2_Feb%202023.pdf.
       8
           2023 Cost of Caring Report at 3-4.
       9
           Id. at 4.
       10
            Id.


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higher manufacturing, packaging, and shipping costs, which in turn led to higher prices for

hospitals. 11 Between 2019 and 2022, laboratory expenses per patient increased by 27.1%, and

expenses for emergency services—including ventilators, respirators, and other life-saving

equipment—increased by nearly 31.9%. 12 At the same time, increases in patient acuity resulted

in longer hospital stays and more intensive care, leading to even higher medical supply and

equipment costs. Overall supply expenses per patient increased 18.5% between 2019 and 2022,

nearly matching the increases in labor and drug costs. 13

       As hospitals and health systems faced significant price increases at every turn, their

revenues did not keep pace. Even before the pandemic, reimbursements from government

payors were insufficient to cover costs. 14 A 2016 analysis by the Congressional Budget Office

concluded that, due in part to projected cuts to Medicare reimbursements, as many as 40-60% of

hospitals would have negative profit margins by 2025. 15 But during the pandemic, government

reimbursements fell even further behind. In 2020, Medicare paid only 84 cents for every dollar

hospitals spent caring for Medicare patients, imposing tens of billions of dollars in losses on




       11
            Id. at 5.
       12
            Id. at 6.
       13
            Id. at 5.
       14
          Medicare Payment Advisory Committee, Report to the Congress: Medicare Payment
Policy at xv (Mar. 15, 2019) (finding that hospitals’ aggregate Medicare margin in 2017 was
negative 9.9 percent and projecting a decline to negative 11 percent by 2019), available at
https://www.medpac.gov/wp-content/uploads/import_data/scrape_files/docs/default-
source/reports/mar19_medpac_entirereport_sec_rev.pdf.
       15
          Congressional Budget Office, Working Paper Series, Projecting Hospitals’ Profit
Margins Under Several Illustrative Scenarios at 2 (Sept. 2016), available at
https://www.cbo.gov/sites/default/files/114th-congress-2015-2016/workingpaper/51919-
Hospital-Margins_WP.pdf.


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hospitals nationwide. 16 All in, while total hospital expenses increased by 17.5% between 2019

and 2022, Medicare reimbursements for inpatient care increased by only 7.5%. 17 Hospitals were

unable to make up for this shortfall through increased commercial reimbursements. In 2022, for

example, growth in general inflation (8%) was more than double the growth in hospital prices as

measured by the Bureau of Labor Statistics (2.8%). 18

       Unsurprisingly, rapid increases in cost coupled with modest increases in revenue have

taken a severe toll on hospitals’ financial performance. Eighteen rural hospitals closed in 2020

alone. 19 Over half of U.S. hospitals ended 2022 operating at a loss. 20 This trend continued into

2023: according to one study, the first quarter of 2023 had the highest number of bond defaults

by hospitals in over a decade; 21 according to another analysis, the median operating margin was

negative in early 2023 and hovering around 1% through the end of November. 22

       16
         Am. Hospital Ass’n, Fact Sheet: Underpayment by Medicare and Medicaid (Feb.
2022), available at https://www.aha.org/fact-sheets/2020-01-07-fact-sheet-underpayment-
medicare-and-medicaid. In 2020 alone, hospitals lost over $100 billion caring for Medicare and
Medicaid patients combined. Id.
       17
            2023 Cost of Caring Report at 1.
       18
          Id. at 2; Micah Hartman et al., HealthAffairs, National Health Care Spending in 2022:
Growth Similar to Prepandemic Rates at 2 (Jan. 2024) (citing BLS statistics for 2.8% growth in
hospital producer pricing index), available at
https://www.healthaffairs.org/doi/epdf/10.1377/hlthaff.2023.01360. BLS statistics account for
both government and commercial reimbursements. U.S. Bureau of Labor Statistics Industry
Factsheet, Producer Price Indexes, available at https://www.bls.gov/ppi/factsheets/producer-
price-index-healthcare-factsheet.htm (last visited Jan. 9, 2024).
       19
          UNC, The Cecil G. Sheps Center for Health Services Research, Rural Hospital
Closures, available at https://www.shepscenter.unc.edu/programs-projects/rural-health/rural-
hospital-closures/.
       20
            2023 Cost of Caring Report at 2.
       21
            Id.
       22
          Kaufman Hall, National Hospital Flash Report at 7 (Nov. 2023) (showing negative
median operating margins in January and February 2023 and a median operating margin just
above 1% for November), available at https://www.kaufmanhall.com/insights/research-
report/national-hospital-flash-report-november-2023.


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II.    Commercial health insurers continue to generate sizeable profits.

       As America’s hospitals struggle to break even, the large commercial health insurers that

use MultiPlan are more profitable than ever. COVID-19, it turns out, was a financial boon to the

commercial health insurance industry. The deferred health care that decimated hospital financial

health had precisely the opposite effect on commercial payors. Because many patients cancelled

or delayed non-emergency medical procedures, the pandemic resulted in “one of the lowest

medical loss ratios (83.5%) in decades.” 23 These record-low medical loss ratios led to “outsized

underwriting profits (more than US$40 billion) in 2020.” 24

       Although medical loss ratios increased in more recent years, underwriting margins

remained positive and generally consistent with pre-COVID levels. 25 The result is that large

commercial insurers continue to generate sizeable profits even as cost increases plague hospitals

and health systems. United Healthcare, for example, earned over $25 billion in additional

revenue and increased its operating margin in 2022. 26 Then, to start 2023, it increased its first

quarter revenues by 13% year-over-year, contributing to the additional $12 billion its parent

company, UnitedHealth Group (UHG), earned in that single quarter compared to the same




       23
          Andy Davis et al., In a shifting market, it is “advantage” Medicare for health plans,
Deloitte Insights (July 25, 2023), available at
https://www2.deloitte.com/us/en/insights/industry/health-care/health-insurance-trends.html. An
insurer’s medical loss ratio is its share of total premiums spent on medical claims.
       24
            Id.
       25
         Id. (noting that average underwriting margins from 2020-2022 were 2.8%, compared to
3.2% from 2017-2019).
       26
           Press Release, UnitedHealth Group, UnitedHealth Group Reports 2022 Results, at 3
(Jan. 13, 2023), available at
https://www.unitedhealthgroup.com/content/dam/UHG/PDF/investors/2022/UNH-Q4-2022-
Release.pdf.


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period in 2022. 27 UHG’s share price more than doubled between the beginning of the pandemic

and the date this lawsuit was filed. 28 The same is true for Elevance, the nation’s largest Blue

Cross/Blue Shield licensee. 29

       That commercial payors are profitable does not mean they are colluding, of course. But

the Court should be skeptical of MultiPlan’s effort to paint commercial insurers as victims of

“supracompetitive price[s]” by Adventist or other healthcare providers. E.g., Br. at 34. Such

rhetoric is not just a distraction from the allegations in and merits of this case—it is out of step

with the economic reality of the healthcare industry.

III.   Rural hospitals are uniquely at risk.

       As MultiPlan notes in the first sentence of its brief, Adventist is a large health system

with dozens of facilities across several states. It is in the miniscule minority of hospitals that

have the wherewithal to pursue litigation of this nature. Most hospitals and health systems do



       27
          Press Release, UnitedHealth Group, UnitedHealth Group Reports First Quarter 2023
Results, at 2-3 (Apr. 14, 2023), available at
https://www.unitedhealthgroup.com/content/dam/UHG/PDF/investors/2023/UNH-Q1-2023-
Release.pdf.
       28
            https://finance.yahoo.com/quote/UNH/history/.
       29
           https://finance.yahoo.com/quote/ELV/history/. Formerly known as Anthem,
Elevance’s net income increased from $4.6 billion in 2020 to $6.1 billion in 2021, while its stock
price has grown by over $200/share over the past five years (a nearly 90% increase), more than
doubling since March 2020. See Anthem Annual Report 2021, Financials (last visited Jan. 9,
2024), available at https://www.elevancehealth.com/annual-report/2021/financials.html (noting
increase in shareholders’ net income); https://finance.yahoo.com/quote/ELV/history/. Some
other commercial payors with significant increases in share price since March 2020 include
Cigna Group (91% increase from March 16, 2020, to the date of this lawsuit), Molina Healthcare
(158% increase during same period), Humana Inc. (83% increase during same period), and CVS
Health Corp., parent of Aetna (43% increase during same period). See
https://finance.yahoo.com/quote/CI/history/ (Cigna);
https://finance.yahoo.com/quote/MOH/history/ (Molina);
https://finance.yahoo.com/quote/HUM/history/ (Humana);
https://finance.yahoo.com/quote/CVS/history/ (CVS/Aetna).


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not. Because this lawsuit addresses alleged conduct that harms (or could harm) many U.S.

hospitals, regardless of size or ownership structure, it is important that the Court evaluate

Adventist’s allegations with an understanding of the bigger picture.

        As discussed above, the past few years have been a challenging period for the health care

sector. After the devastating losses of 2020 and three years of cost inflation, the median

operating margin across all U.S. hospitals now hovers barely above breakeven. This means

nearly half of all hospitals are still failing to cover their costs of treating patients. 30

        The situation is even more dire in rural communities. In January 2023, U.S. News and

World Report reported on a study estimating that “[m]ore than 200 rural hospitals are at

immediate risk of closure because they aren’t making enough money to cover the rising cost of

providing care, and their low financial reserves leave them little margin for error.” 31 The same

study found that another 400 rural hospitals “are at risk of closing in the near future.” 32 The

article notes that payments “particularly from commercial insurance plans” have failed to keep

up with cost increases. 33 These insufficient payments are even more problematic for rural




        30
          Lukas K. Gaffney & Kenneth A. Michelson, Analysis of Hospital Operating Margins
and Provision of Safety Net Services, National Library of Medicine (Apr. 18, 2023) (defining
hospital operating margin as “net income from patient care (operating revenue minus operating
expenses) divided by revenue from patient care”), available at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC10114034/.
        31
          Dennis Thompson, U.S. News and World Report, Hundreds of Hospitals Could Close
Across Rural America (Jan. 16, 2023), available at https://www.usnews.com/news/health-
news/articles/2023-01-16/hundreds-of-hospitals-could-close-across-rural-america (emphasis
added).
        32
             Id.
        33
             Id.


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hospitals: relative to urban hospitals, rural hospitals serve less populated areas and are therefore

“less likely to see enough patients on average to cover costs.” 34

       America’s rural and community hospitals need competitive reimbursements from

commercial payors to carry out their core mission of providing care for their patients and

communities. It is a matter of survival. Accordingly, the Court should not be distracted by

MultiPlan’s efforts to cast Adventist as some 800-pound gorilla seeking to “obtain a

supracompetitive price for services billed on an [out-of-network] basis.” Br. at 34 (emphasis in

original). Instead, the Court should evaluate this case on the merits, with an understanding that

the resolution of Adventist’s claims will have a profound impact on hospitals and health systems

throughout the country.

                                         CONCLUSION

       Competitive reimbursement rates are critical to many hospitals and health systems. At

this stage in the case, the AHA need not take a position on the merits of the underlying suit. But

if, as Adventist alleges, commercial payors are colluding to fix out-of-network reimbursements,

the Court should put an end to such conduct. In so doing, the Court will help alleviate the

tremendous financial strain on America’s hospitals and health systems, while preserving patient

access to care in hundreds of communities across the United States.




       34
            Id.


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Dated: January 9, 2024              Respectfully Submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 10, 2024, I caused a true and correct copy of the

foregoing to be served on all counsel of record via the Court’s electronic filing system.


Dated: January 10, 2024                                      /s/ Aaron M. Healey
                                                             Aaron M. Healey
